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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

 JOHN DOE,
          Plaintiff
 v.                                                  Civil Action No: 1:18-cv-00040-LM
 TRUSTEES OF DARTMOUTH COLLEGE,
          Defendant

                               STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(A)(ii), the parties stipulate to the dismissal of this action

with prejudice.


 JOHN DOE,                                               TRUSTEES OF DARTMOUTH COLLEGE,

 /s/ Ruth O’Meara-Costello                               /s/ Daryl J. Lapp
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                                       Certificate of Service

       I certify that on November 15, 2018, I caused the foregoing document to be served on
counsel of record for all parties that have appeared to date through the Court’s CM/ECF system.


                                               /s/ Ruth O’Meara-Costello



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